  21-12075-dsj        Doc 178-6 Filed 03/25/22 Entered 03/25/22 12:30:05 Exhibit E:
                              Settlement Addendum Pg 1 of 13
                                          FRE 408; FOR DISCUSSION PURPOSES ONLY
                                      NOT AN OFFER, COMMITMENT OR CONTRACT

                                  SETTLEMENT ADDENDUM

                                           March 25, 2022

        This Settlement Addendum sets forth certain of the terms for the settlement and
resolution of certain claims and other matters, by and among, each of the following four groups
of Parties (each, a “Group”):

       (a)    the following parties (collectively, the “JPA Parties”):

              (i)       JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. (together, the “Debtors”),
                        as debtors and debtors in possession in the chapter 11 cases pending under
                        case number 21-12075 (DSJ) filed in the United States Bankruptcy Court
                        for the Southern District of New York (the “Bankruptcy Court”) filed on
                        December 17, 2021 (the “Petition Date”);

              (ii)      JP Lease Products & Services Co. Ltd. (“JPL”);

              (iii)     JLPS Ireland Limited (“JLPS”);

              (iv)      Heinrich Loechteken; and

              (v)       each affiliate, agent, officer, and director of the foregoing JPA Parties;

       (b)    the following parties (collectively, the “FitzWalter Parties”):

              (i)       FitzWalter Capital Partners (Financial Trading) Limited (“FitzWalter”);

              (ii)      FitzWalter Aviation (Holdings) 2 Limited (“FitzWalter Aviation”); and

              (iii)     each affiliate, agent, officer, and director of the foregoing FitzWalter
                        Parties;

       (c)    the following parties (collectively, the “Intermediate Lessors”):

              (i)       JLPS Leasing Draco Limited f/k/a DAE Leasing (Ireland) 12 Limited
                        (“JLPS Draco”);

              (ii)      JLPS Leasing Uranus Limited f/k/a PAAL Uranus Company Limited
                        (“JLPS Uranus”); and

              (iii)     each affiliate, agent, officer, and director of the foregoing Intermediate
                        Lessors;

       (d)    the following parties (collectively, the “Purchasers”):

              (i)       Capital Reef LLC (or its designee Flicker Ltd.), as buyer of the MSN 067
                        Aircraft and related assets; and
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                  (ii)     Isle Royale LLC (or its designee Coot Ltd.), as buyer of the MSN 173
                           Aircraft and related assets.

Collectively, the JPA Parties, the FitzWalter Parties, the Intermediate Lessors, and the
Purchasers are referred to herein as the “Parties” and each a “Party”.1


    Sale Objections       Upon execution of this Term Sheet, FitzWalter and the Intermediate
                          Lessors agree to withdraw all objections to the Motion and related issues
                          (including, without limitation, the Sale, the Enforcement Notices and the
                          Assigned Contracts); provided that FitzWalter’s and the Intermediate
                          Lessors’ rights to assert such objections are reserved to the extent that the
                          Closing Date does not occur.


    Secured               The Parties agree that in full and final satisfaction of all amounts asserted
    Obligations           by FitzWalter (in any of its capacities) that have been disputed by, inter
                          alia, the Debtors, (a) FitzWalter shall hold an allowed, non-subordinated,
                          senior secured claim (the “FitzWalter Claim”) in the amount of the
                          aggregate of (i) principal and accrued but unpaid interest as set forth in
                          Exhibit C to the Sale Order and (ii) $4,000,000 in reasonable fees, costs
                          and charges (($2 million for each Debtor as reflected in Exhibit C to the
                          Sale Order) and (ii) shall irrevocably be paid cash equal to the FitzWalter
                          Claim from the proceeds of the Sale by the Purchasers on the Closing
                          Date.

                          In addition, the Debtors and FitzWalter, in its capacities as Security Agent
                          and Majority Lender, agree that the full amount of the Secured
                          Obligations owed by each Debtor and its estate and any of the Obligors
                          constitutes allowed, non-subordinated secured claims as set forth in
                          Exhibit C to the Sale Order and that such amounts shall be paid by the
                          Purchasers in accordance with the terms hereof and the Sale Order and
                          that no further or additional amounts shall be considered Secured
                          Obligations or claims against the Debtors and any other Obligors under
                          the Transaction Documents or otherwise.

                          Upon such payments any obligations of any parties to the Proceeds
                          Agreement (who are intended third party beneficiaries hereof) shall be
                          deemed discharged and released.




1
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Order (A) Approving Stalking Horse Purchase Agreements; (B) the Sale of the Purchased Assets Free and Clear of
All Liens, Claims, Interests, and Encumbrances; (C) Authorizing the Assumption and Assignment of Certain
Executory Contracts and Unexpired Leases in Connection Therewith; and (D) Granting Related Relief to which this
Settlement Addendum is attached (the “Sale Order”).


                                                       2
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English Lawsuit    Upon the occurrence of the Closing, FitzWalter agrees to cause the
/ Japanese         voluntarily dismissal with prejudice and without costs all claims against
Dispute /          JPL, JLPS, the Intermediate Lessors, and Heinrich Loechteken pending in
Irish              the High Court of England and Wales, Queen’s Bench Division, Media
Dispute            and Communications List under Claim No. QB-2022-000199 (the
                   “London Litigation”) and to cease all other actions against JPL, JLPS, the
                   Intermediate Lessors and Mr. Loechteken in Japan (the “Japanese
                   Dispute”) and Ireland (the “Irish Dispute”).

                   By no later than one (1) business day following the Closing Date,
                   FitzWalter shall cause the dismissal of the London Litigation to be filed in
                   the form annexed hereto as Exhibit 1, along with any other documents as
                   may be necessary or reasonable to effectuate the foregoing dismissal,
                   without costs, with prejudice of the London Litigation.


Debtors’           Upon the occurrence of the Closing, the Debtors agree to voluntarily
Complaint          dismiss with prejudice all claims against FitzWalter and any related or
(Adv. Pro.         other relief sought pending in Adversary Proceeding No. 22-01004 (DJS)
No. 22-01004)      (the “Debtors’ Adversary Proceeding”).

                   By no later than one (1) business day following the Closing Date, the
                   Debtors shall file a notice effectuating the foregoing voluntarily dismissal
                   with prejudice in the Debtors’ Adversary Proceeding.


FitzWalter         Upon the occurrence of the Closing, FitzWalter agrees to voluntarily
Complaint (Adv.    dismiss with prejudice all claims against the Debtors and any related or
Pro. No. 22-       other relief sought pending in Adversary Proceeding No. 22-01006 (DSJ)
01006)             (the “FitzWalter Adversary Proceeding” and, together with the Debtors’
                   Adversary Proceeding, the “Adversary Proceedings”).

                   By no later than one (1) business day following the Closing Date,
                   FitzWalter shall file a notice effectuating the foregoing voluntary
                   dismissal with prejudice in the FitzWalter Adversary Proceeding.


FitzWalter’s       Upon the occurrence of the Closing, FitzWalter agrees to voluntarily
Pending Appeal     dismiss with prejudice the appeal pending in the U.S. District Court for
                   the Southern District of New York under case no. 1:22-cv-01582-PGG
                   (the “FitzWalter Appeal”).

                   By no later than one (1) business day following the Closing Date,
                   FitzWalter shall file a notice effectuating the foregoing voluntary
                   dismissal with prejudice in the FitzWalter Appeal.




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Mutual Releases    Effective upon the Closing Date, by and among each of the following (a)
                   each Group (and each of the Parties within each Group) and (b) each of
                   such Parties’ predecessors, successors, and assigns, and all of their
                   respective current and former partners, members, officers, directors,
                   principals, affiliates, shareholders (and any fund managers, fiduciaries or
                   other agents of shareholders with an involvement related to the Parties),
                   investors, employees, agents (including, without limitation, Airborne
                   Capital Limited), representatives, managers, subsidiaries, financial
                   advisors, attorneys, accountants, investment bankers, consultants,
                   management companies, fund advisors and other professionals, and any
                   and all other parties holding an interest in any of them, each in their
                   capacity as such (the foregoing (b), collectively, the “Related Parties”) for
                   consideration provided herein and pursuant to the Sale and other good and
                   valuable consideration received by them do fully and forever release,
                   remise, relinquish, acquit, waive and discharge each of the other Parties
                   and their respective Related Parties of and from any and any and all
                   claims, demands, sums of money, actions, rights of action, contracts,
                   agreements, losses, injuries, damages, assertions, allegations,
                   controversies, proceedings, obligations and liabilities, whether known or
                   unknown, asserted or unasserted, suspected or unsuspected, accrued,
                   unaccrued, fixed, contingent, pending, or threatened of every kind or
                   nature whatsoever, whether in law, equity, bankruptcy or otherwise (the
                   “Claims”), which, as against each of the other releasing parties and their
                   respective Related Parties, or any one of them, had, have or may have had
                   from the beginning of time until the Closing Date with respect to, arising
                   from, related to, or in connection with the Aircraft, the Transaction
                   Documents, the Secured Obligations (as defined in the Transaction
                   Documents), the Sale Transaction Documents (including, for the
                   avoidance of doubt, each Enforcement Notice and Bill of Sale), the
                   Chapter 11 Cases, the London Litigation, the Japanese Dispute, the Irish
                   Dispute, the Adversary Proceedings, the FitzWalter Appeal, the Motion,
                   the Bidding Procedures, the Sale, and the negotiation and documentation
                   of any of the foregoing (including, without limitation, the Stalking Horse
                   Purchase Agreements and any related term sheets and the effectuation of
                   the transactions contemplated thereunder); provided that the foregoing
                   mutual releases, remissions, relinquishments, acquittances, waivers, and
                   discharges shall be subject to the following limitations, (a) solely in
                   respect of the Debtors and the Purchasers, nothing herein shall affect or
                   limit the rights, claims and interest as among the Parties that are members
                   of the same Group as amongst themselves; and (b) nothing herein shall
                   alter or modify any of the express terms of the Sale Order.
                   Notwithstanding anything to the contrary in the foregoing, the release set
                   forth above does not release any of the Parties’ obligations under the
                   Stalking Horse Purchase Agreements, the Sale Order, or any other Sale
                   Transaction Document.



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Further            The Debtors agree to seek approval of the Sale Order with this Settlement
Assurances         Addendum annexed thereto as soon as reasonably practicable after the
                   date hereof.

                   Each of the Parties hereby further agrees to execute and deliver, or cause
                   to be executed and delivered, all documents and instruments, and shall
                   take, or cause to be taken, all such further or other actions as any of the
                   Parties hereto reasonably deems necessary or desirable to consummate
                   and/or give effect to the terms of this Settlement Addendum, the Sale
                   Order and the Sale, including such actions as may be necessary to vest,
                   perfect or confirm or record or otherwise in the Purchasers their right, title
                   and interest in and to their respective Purchased Assets (including, without
                   limitation, the transfer of the Aircraft, the OPERA relating to the Aircraft,
                   any warranties relating to the Aircraft, the Lease Assets, the Transferred
                   Contracts and any other Purchased Assets).


Approval;          The Parties agree that this Settlement Addendum shall be attached as an
Effective Date     exhibit and addendum to the Sale Order and approved thereby.

                   This Settlement Addendum shall be binding and enforceable upon the
                   Parties upon its execution by all of the undersigned; provided that
                   anything in this Settlement Addendum conditioned by its terms upon the
                   occurrence of the Closing Date shall only be effective upon the Closing
                   Date.

                   The Sale Order shall provide that any persons served with adequate notice
                   of the Settlement Addendum shall be bound by the terms of the Sale
                   Order, including the terms of the Settlement Addendum.


Representations; Each of the Parties, by and through its undersigned counsel, represents
Authority        and warrants that it is duly authorized to enter into and be bound by this
                 Settlement Addendum, that it has full knowledge of and has consented to
                 this Settlement Addendum, and has the ability to effectuate the terms of
                 this Settlement Addendum related to such Party, in each case, subject to
                 the Bankruptcy Court’s approval of the Sale Order with this Settlement
                 Addendum annexed thereto, and each Party acknowledges that, by
                 entering into this Settlement Addendum, it does not and will not dispute
                 the authority of each other party to enter into and be bound by this
                 Settlement Addendum.


Governing Law      THIS SETTLEMENT ADDENDUM SHALL IN ALL RESPECTS,
                   INCLUDING ALL MATTERS OF CONSTRUCTION, VALIDITY AND
                   PERFORMANCE, BE GOVERNED BY, AND CONSTRUED IN
                   ACCORDANCE WITH, THE LAW OF THE STATE OF NEW YORK


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                (WITHOUT REGARD TO CONFLICT OF LAWS PRINCIPLES) AS
                APPLIED TO CONTRACTS MADE AND PERFORMED WITHIN THE
                STATE OF NEW YORK.


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Dated: New York, New York
       March 25, 2022

                              /s/ Kyle J. Ortiz
                              TOGUT, SEGAL & SEGAL LLP

                              Frank A. Oswald
                              Kyle J. Ortiz
                              Brian F. Shaughnessy
                              Bryan M. Kotliar
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                                      bkotliar@teamtogut.com

                              Counsel to the Debtors and Debtors in Possession, on
                              behalf of the Debtors
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Dated: New York, New York
       March 25, 2022
                              /s/ Michael J. Edelman
                              VEDDER PRICE P.C.

                              Michael J. Edelman
                              Jeremiah Vandermark
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                              Counsel to JP Lease Products & Services Co., Ltd., and
                              JLPS Ireland Limited, on behalf of the JPA Parties (other
                              than the Debtors)
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Dated: New York, New York
       March 25, 2022
                              /s/ Sidney P. Levinson
                              DEBEVOISE & PLIMPTON LLP

                              Sidney P. Levinson
                              Isabella M. Cusano
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                              Facsimile: (212) 9090-6836
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                                       imcusano@debevoise.com

                              Counsel to JLPS Leasing Uranus Limited
                              and JLPS Leasing Draco Limited, on behalf of the
                              Intermediate Lessors
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Dated: March 25, 2022
                               /s/ Asher B. Griffin
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                               Counsel to FitzWalter Capital
                               Partners (Financial Trading) Limited, on behalf of the
                               FitzWalter Parties
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                                  Exhibit 1
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                                                                     Claim No. QB-2022-000199

IN THE HIGH COURT OF JUSTICE

QUEEN’S BENCH DIVISION

MEDIA AND COMMUNICATIONS LIST

Before:
Dated:

BETWEEN

        FITZWALTER CAPITAL PARTNERS (FINANCIAL TRADING) LIMITED
                                                             Claimant
                                 and

                       (1) JP LEASE PRODUCTS & SERVICES LIMITED
                                    (2) JLPS IRELAND LIMITED
                               (3) JLPS LEASING DRACO LIMITED
                              (4) JLPS LEASING URANUS LIMITED
                                   (5) HEINRICH LOECHTEKEN
                                                                                       Defendants

                                        CONSENT ORDER




UPON the order of Mr Justice Nicklin dated 8 March 2022;

UPON the Claimant and the First to Fourth Defendants having agreed to seek the Court’s
approval to stay these proceedings until 22 April 2022, as described in a letter to the Court from
the Claimant’s solicitors dated 15 March 2022 enclosing a draft Consent Order signed by the
Claimant and the First to Fourth Defendants;

AND UPON the Claimant and the Defendants having agreed to the dismissal of the proceedings
without costs,

BY CONSENT IT IS ORDERED THAT:

1.     These proceedings are dismissed.

2.     There shall be no order as to costs.
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Dated this     day of                  2022
We consent to an order being made in the above terms


Signed:                                        Signed:


……………………………                                    ………………………………
Quinn Emanuel Urquhart & Sullivan LLP          Alius Law
For and on behalf of the Claimant              For and on behalf of the First and Second Defendants




Signed:

……………………………
Debevoise & Plimpton LLP
For and on behalf of the Third and Fourth Defendants


Signed:

……………………………
Heinrich Loechteken
Fifth Defendant
